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                   UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                Case No. 10-cr-48-01 SM

Luis Alberto Reyes



                                     ORDER

      The defendant Luis Alberto Reyes, through counsel, has moved to continue the

trial scheduled for February 15, 2011 for a period of thirty days, citing the need for

additional time to negotiate a non-trial disposition of this case. The Government

assent to the proposed continuance of the trial date.

      Accordingly, for the above reasons, the court will continue the trial from

February 15, 2011 to March 22, 2011. In agreeing to continue the trial, the court

finds pursuant to 18 U.S.C. § 3161(h)(7)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the best interests of the

public and the defendants in a speedy trial. The defendant shall file a waiver of

speedy trial not later than February 14, 2011.
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     No further continuances absent extraordinary reasons.



     Final Pretrial Conference:       March 11, 2011 at 2:00 PM

     Jury Selection:                  March 22 , 2011 at 9:30 AM

     SO ORDERED.



February 4, 2011                    _________________________
                                     Steven J. McAuliffe
                                      Chief Judge

cc: Counsel of Record
    U. S. Probation
    U. S. Marshal




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